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RANDY S. GROSSMAN

United States Attorney

OWEN ROTH

Assistant United States Attorney
California Bar No. 335891

United States Attorney’s Office i | yt 18 2023
880 Front Street, Room 6293 | | JUL AO eue,
San Diego, California 92101-8893
Telephone: (619) 546-7710

owen. roth@usdoj.gov

Attorneys for Plaintiff
United States of America

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 23-CR-238 TWR

Plaintiff,
PLEA AGREEMENT

V.
The Honorable Todd W. Robinson
MANUEL ROBLES III,

Defendant.

IT IS HEREBY AGREED between plaintiff, UNITED STATES OF AMERICA,
through its counsel, Randy S. Grossman, United States Attorney, and Owen
Roth, Assistant United States Attorney, and Defendant, MANUEL ROBLES
III, with the advice and consent of Benjamin Kington, counsel for ROBLES,

as follows:

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I
THE PLEA
A. The Charge
ROBLES agrees to plead guilty to a Superseding Information,
charging ROBLES as follows:

A. THE CHARGES

COUNT ONE
On or about April 26, 2021, within the Southern District of
California and elsewhere, defendant, MANUEL ROBLES III, did knowingly
and intentionally conspire and agree with other persons, known and
unknown, to possess with intent to distribute a mixture and substance
containing a detectable amount of methamphetamine, a Schedule II
Controlled Substance, all in violation of Title 21, United States Code,
Gections 841(a)(1), (b) (1) (C), and 846.
COUNT TWO
On or about April 26, 2021, within the Southern District of
California, defendant, MANUEL ROBLES LLL, did knowingly and
intentionally possess with intent to distribute a mixture and substance
containing a detectable amount of methamphetamine, a Schedule II
Controlled Substance, in violation of Title 21, United States Code,
Sections 841(a) (1) and (b) (1) (C).

B. PRE-TRIAL DISPOSITION

ROBLES agrees that, following entry of his guilty plea, the
Government need not hold or preserve any evidence seized in connection
with this case. Furthermore, if the court has issued a preservation
order in connection with, any seized evidence, ROBLES agrees to jointly
request that the Court lift or revoke the preservation order following

entry of defendant’s guilty plea. ROBLES agrees that upon acceptance of

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his guilty plea by the District Court, and not withstanding any
preservation order(s) entered by the District Court, the Government need
not hold or preserve any evidence seized in connection with this case,

including but not limited to:

dis Any cellular device(s);
2. Any vehicle(s); and
S's Any controlled substance(s), except sample amounts for

confirmatory testing.

Cs DISMISSAL OF PENDING COUNTS

The Government agrees to (1) move to dismiss the pending counts
against ROBLES in the indictment without prejudice when he is sentenced,
and (2) not prosecute him thereafter on such dismissed charges unless
he breaches the Plea Agreement or the guilty plea entered pursuant to
this Plea Agreement is set aside for any reason. If he breaches this
agreement or the guilty plea is set aside, Section XII below shall apply.

II

NATURE OF THE OFFENSE

A. Elements Explained

The offenses to which ROBLES is pleading guilty have the following
elements:
Count One
1. Beginning on or about a date certain, and ending on or about
a date certain, there was an agreement between two or more persons to
distribute methamphetamine; and
2. The defendant joined in the agreement knowing of its purpose.

Count Three

Le The defendant knowingly possessed methamphetamine or some

other federally controlled substance; and

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2. Second, the defendant possessed the methamphetamine with the
intent to distribute it to another person.

B. Elements Understood and Admitted - Factual Basis

ROBLES has fully discussed the facts of this case with defense
counsel. ROBLES has committed each element of the crimes and admits that
there is a factual basis for this guilty plea. The following facts are
true and undisputed:

ay On April 26, 2021, ROBLES met with Fernando BLANCO at a gas
station in Heber, California. There, BLANCO provided ROBLES with
packages of methamphetamine. ROBLES then drove home from the gas station.
ROBLES and another man took two duffel bags from the trunk of ROBLES’s
car and brought them into his home, and ROBLES shortly thereafter put
the two duffel bags back into his Honda Accord, Throughout this time
period, ROBLES spoke on the phone with BLANCO, and admits these calls
were in connection with the methamphetamine BLANCO had given ROBLES.

2. The next day, ROBLES drove the Honda Accord to a parking lot
Heber and parked it there. ROBLES abandoned the Honda Accord at that
point, because he was afraid that law enforcement was watching him with
the car.

3 Law enforcement seized and searched the car, which ROBLES left
in the parking lot in Heber. In it, they found fifty packages of
methamphetamine in the two duffel bags. These packages had a gross weight
of 23.88 kilograms.

ITI
PENALTIES

The crimes to which ROBLES is pleading guilty carry the following

maximum penalties:

A. A maximum term of 20 years in prison;

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This

A maximum $1,000,000 fine;
A mandatory special assessment of $100.00 per count; and
A term of supervised release of at least three years and as
much as life. ROBLES understands that failure to comply with
any of the conditions of supervised release may result in
revocation of supervised release, requiring ROBLES to serve
in prison, upon any such revocation, all or part of the
statutory maximum term of supervised release for the offense
that resulted in such term of supervised release.

IV

DEFENDANT’S WAIVER OF TRIAL RIGHTS

AND UNDERSTANDING OF CONSEQUENCES

guilty plea waives ROBLES’s right at trial to:

Continue to plead not guilty and require the Government to
prove the elements of the crime beyond a reasonable doubt;

A speedy and public trial by jury;

The assistance of counsel at all stages of trial;

Confront and cross-examine adverse witnesses;

Testify and present evidence and to have witnesses testify on
behalf of ROBLES; and

Not testify or have any adverse inferences drawn from the
failure to testify.

Vv

DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE PROVIDED

WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION

Any information establishing the factual innocence of ROBLES known

to the undersigned prosecutor in this case has been turned over to

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ROBLES. The Government will continue to provide such information
establishing the factual innocence of ROBLES.

If this case proceeded to trial, the Government would be required
to provide impeachment information for its witnesses. In addition, if
ROBLES raised an affirmative defense, the Government would be required
to provide information in its possession that supports such a defense.
By pleading guilty, ROBLES will not be provided this information, if
any, and ROBLES waives any right to this information. ROBLES will not
attempt to withdraw the guilty plea or file a collateral attack on the
existence of this information.

VI
DEFENDANT'S REPRESENTATION THAT GUILTY

PLEA IS KNOWING AND VOLUNTARY

ROBLES represents that:

A. ROBLES has had a full opportunity to discuss all the facts and
circumstances of this case with defense counsel and has a
clear understanding of the charges and the consequences of
this plea. By pleading guilty, ROBLES may be giving up, and
rendered ineligible to receive, valuable government benefits
and civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury. The conviction in this case may subject ROBLES
to various collateral consequences, including but not limited
to revocation of probation, parole, or supervised release in
another case; debarment from government contracting; and
suspension or revocation of a professional license, none of

which can serve as grounds to withdraw ROBLES’s guilty plea;

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B. No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this
agreement or otherwise disclosed to the court;

Cx No one has threatened ROBLES or his family to induce this
guilty plea; and,

D. ROBLES is pleading guilty because he is guilty and for no
other reason.

VII
AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE,

SOUTHERN DISTRICT OF CALIFORNIA

This Plea Agreement is limited to the United States Attorney’s
Office for the Southern District of California, and cannot bind any
other authorities in any type of matter, although the Government will
bring this Plea Agreement to the attention of other authorities if
requested by ROBLES.

VIII

APPLICABILITY OF SENTENCING GUIDELINES

The sentence imposed will be based on the factors set forth in
18 U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must
consult the United States Sentencing Guidelines (Guidelines) and take
them into account. ROBLES has discussed the Guidelines with defense
counsel and understands that the Guidelines are only advisory, not
mandatory. The Court may impose a sentence more severe OF less severe
than otherwise applicable under the Guidelines, up to the maximum in the
statute of conviction. The sentence cannot be determined until a
presentence report is prepared by the U.S. Probation Office and defense
counsel and the Government have an opportunity to review and challenge

the presentence report. ROBLES agrees to request that a presentence

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investigation report be prepared. Nothing in this Plea Agreement limits

the Government’s duty to provide complete and accurate facts to the
district court and the U.S. Probation Office.
IX

SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

This Plea Agreement is made pursuant to Federal Rule of Criminal
Procedure 11(c) (1) (B). The sentence is within the sole discretion of the
sentencing judge who may impose the maximum sentence provided by statute.
It is uncertain at this time what ROBLES’s sentence will be. The
Government has not made and will not make any representation as to what
sentence ROBLES will receive. Any estimate of the probable sentence by

defense counsel is not a promise and is not binding on the Court. Any

recommendation made by the Government at sentencing is also not binding
on the Court. If the sentencing judge does not follow any of the parties’
sentencing recommendations, ROBLES will not withdraw the plea.

Xx

PARTIES’ SENTENCING RECOMMENDATIONS

A. Sentencing Guideline Calculations

Although the Guidelines are only advisory and just one of the
factors the court will consider under 18 U.S.C. § 3553(a) in imposing a
sentence, the parties will jointly recommend the following Base Offense

Level, Specific Offense Characteristics, Adjustments and Departures:

1, | & gels | Base Offense Level* 30
2. |§§ 2D1.1(b) (18) & 5C1.2 Safety Valve** =o
3.|§ 3E1.1 Accept. of Responsibility -3
4, |§ 5SK2.0 Waiver of Appeal & Coll. Attack =3

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*The actual Base Offense Level (BOL) cannot be determined until a
laboratory has performed a chemical analysis of a sample of the
controlled substance(s), so this calculation is subject to change. At
sentencing, the parties will recommend a BOL consistent with the results
of the laboratory testing of the sample and the weight of the controlled
substance (s) as determined at the time of ROBLES’s arrest (after first
incorporating a 10% reduction in the overall weight to reflect a
reduction in the weight for packaging and other considerations) . If
ROBLES is determined to be a career offender pursuant to USSG § 4B1.1(a),
the applicable base offense level shall be determined pursuant to USSG
§ 4B1.1(b); furthermore, ROBLES will be ineligible for any role
reduction.

**kIf ROBLES meets the requirements for Safety Valve as provided
under USSG §§ 2D1.1(b) (18) and 5C1.2 or meets the requirements under
USSG § 5C1.2(a) (2)-(5) and the criminal history requirements as provided
in the First Step Act, the Government will recommend a two-level
reduction of the guidelines and relief from any statutory mandatory
minimum sentence.

B. Acceptance of Responsibility

Despite Paragraph A above, the Government need not recommend an
adjustment for Acceptance of Responsibility if ROBLES engages in conduct
inconsistent with acceptance of responsibility including, but not
limited to, the following:

A. Fails to truthfully admit a complete factual basis as
stated in the plea at the time the plea is entered, or
falsely denies, or makes a statement inconsistent witn,
the factual basis set forth in this agreement;

B. Falsely denies prior criminal conduct or convictions;

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Cy Is untruthful with the Government, the Court or probation
efficery or
D. Breaches this Plea Agreement in any way.
C,. Further Adjustments and Sentence Reductions Including Those

Under 18 U.S.C. § 3553

ROBLES may not request or recommend additional downward adjustments
or departures under the Sentencing Guidelines, except that he may seek
a 2-level “minor role” adjustment under USSG § 3B1.2. He may seek
variances under 18 U.S.C. § 3553. The Government will oppose any downward
adjustments, departures, or variances not set forth in Section X,
Paragraph A above.

D. No Agreement _as_to Criminal History Category

The parties have no agreement as to ROBLES’s Criminal History
Category.

E. “Factual Basis” and “Relevant Conduct” Information

The facts in the “factual basis” paragraph of this Plea Agreement
are true and may be considered as “relevant conduct” under USSG § 1B1.3
and as the nature and circumstances of the offense under 18 U.S.C.
S 3553 (a) (1) s

F. Parties’ Recommendations Regarding Custody

The Government will recommend a custodial sentence within the
sentencing guidelines range as calculated by the Government. The
Government may also recommend any term of supervised release authorized
by law. ROBLES may seek any lawful sentence.

G. Special Assessment

The parties will jointly recommend that ROBLES pay a special
assessment in the amount of $100.00 per felony count of conviction to

be paid forthwith at time of sentencing. Special assessments shall be

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paid through the office of the Clerk of the District Court by bank or
cashier’s check or money order made payable to the “Clerk, United States
District Court.”

H. Supervised Release

The Government is free to recommend a period of supervised release.
If the Court imposes a term of supervised release, ROBLES will not seek
to reduce or terminate early the term of supervised release until he has
served at least two-thirds of the term of supervised release and has
fully paid and satisfied any special assessments, fine, criminal
forfeiture judgment and restitution judgment.

I. Forfeiture

ROBLES agrees and consents to the forfeiture to the United States
of all property seized in connection with this case pursuant to Title
8, United States Code, Section 1324, Title 18, United States Code,
Section 982(a) (6), and Title 28, United States Code, Section 2461(c).
ROBLES consents and agrees to any and all administrative and civil
forfeiture as well as consents to the immediate entry of order(s) of
forfeiture as the Government deems necessary. ROBLES agrees that upon
execution of this Plea Agreement the ROBLES’s interest(s) in any and all
seized properties is terminated. ROBLES waives all rights to receive
notices of any and all forfeitures. ROBLES agrees that by signing this
Plea Agreement he is immediately withdrawing any claims in pending
administrative or civil forfeiture proceedings to properties seized in
connection with this case. ROBLES agrees to execute all documents
requested by the Government to facilitate or complete the forfeiture
process (es). ROBLES further agrees not to contest, or to assist any
other person or entity in contesting, the forfeiture of property seized

in connection with this case. Contesting or assisting others in

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contesting the forfeiture shall constitute a material breach of the Plea
Agreement, relieving the Government of all its obligations under the
agreement including but not limited to its agreement to recommend an
adjustment for Acceptance of Responsibility. ROBLES further waives the
requirements of Federal Rules of Criminal Procedure 32.2 and 43(a)
regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. ROBLES understands that the forfeiture of
assets is part of the sentence that may be imposed in this case and
waives any failure by the Court to advise him of this, pursuant to Rule
11 (b) (1) (J), at the time the Court accepts the guilty plea(s). ROBLES
further agrees to waive all constitutional and statutory challenges
(including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this agreement, including any
claim that the forfeiture constitutes an excessive fine or punishment
under the United States Constitution. ROBLES agrees to take all steps
as requested by the United States to pass clear title to forfeitable
assets to the United States and to testify truthfully in any judicial
forfeiture proceeding. ROBLES gouces that the forfeiture provisions of
this Plea Agreement are intended to, and will, survive ROBLES,
notwithstanding the abatement of any underlying criminal conviction
after the execution of this agreement. The forfeitability of any
particular property pursuant to this agreement shall be determined as
if ROBLES had survived, and that determination shall be binding upon his

heirs, successors and assigns.

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XI

DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

ROBLES waives (gives up) all rights to appeal and to collaterally
attack every aspect of the conviction and sentence, including any
restitution order. The only exception is that ROBLES may collaterally
attack the conviction or sentence on the basis that he received
ineffective assistance of counsel. If ROBLES appeals, the Government may
support on appeal the sentence or restitution order actually imposed.

XII

BREACH OF THE PLEA AGREEMENT

ROBLES and his attorney know the terms of this agreement and shall
raise, before the sentencing hearing is complete, any claim that the
Government has not complied with this agreement. Otherwise, such claims
shall be deemed waived (that is, deliberately not raised despite
awareness that the claim could be raised), cannot later be made to any
court, and if later made to a court, shall constitute a breach of this
agreement.

ROBLES breaches this agreement if he violates or fails to perform
any obligation under this agreement. The following are non-exhaustive
examples of acts constituting a breach:

A. Failing to plead guilty pursuant to this agreement;

B. Failing to fully accept responsibility as established in

Section X, paragraph B, above;

.. Failing to appear in court;

D, Attempting to withdraw the plea;

E, Failing to abide by any court order related to this case;

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F, Appealing (which occurs if a notice of appeal is filed) or
collaterally attacking the conviction or sentence in violation
of Section XI of this Plea Agreement; or

tS. Engaging in additional criminal conduct from the time of
arrest until the time of sentencing.

If ROBLES breaches this Plea Agreement, he will not be able to
enforce any provisions, and the Government will be relieved of all its
obligations under this Plea Agreement. For example, the Government may
proceed to sentencing but recommend a different sentence than what it
agreed to recommend above. Or the Government may pursue any charges
including those that were dismissed, promised to be dismissed, or not
filed as a result of this agreement (ROBLES agrees that any statute of
limitations relating to such charges is tolled indefinitely as of the
date all parties have signed this agreement; ROBLES also waives any
double jeopardy defense to such charges). In addition, the Government
may move to set aside ROBLES’s guilty plea. ROBLES may not withdraw the
guilty plea based on the Government’s pursuit of remedies for his breach.

Additionally, if ROBLES breaches this Plea Agreement: (i) any
statements made by ROBLES, under oath, at the guilty plea hearing (before
either a Magistrate Judge or a District Judge); (ii) the factual basis
statement in Section II.B in this agreement; and (iii) any evidence
derived from such statements, are admissible against him in any
prosecution of, or any action against, him. This includes the prosecution
of the charge(s) that is the subject of this Plea Agreement or any
charge(s) that the prosecution agreed to dismiss or not file as part of
this agreement, but later pursues because of a breach by ROBLES.
Additionally, ROBLES knowingly, voluntarily, and intelligently waives

any argument that the statements and any evidence derived from the

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statements should be suppressed, cannot be used by the Government, or
are inadmissible under the United States Constitution, any statute, Rule
410 of the Federal Rules of Evidence, Rule 11(f) of the Federal Rules
of Criminal Procedure, and any other federal rule.

XIIT

CONTENTS AND MODIFICATION OF AGREEMENT

This Plea Agreement embodies the entire agreement between the
parties and supersedes any other agreement, written or oral. No
modification of this Plea Agreement shall be effective unless in writing
signed by all parties.

XIV

DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

By signing this agreement, ROBLES certifies that he has read it (or
that it has been read to him in his native language). ROBLES has
discussed the terms of this agreement with defense counsel and fully
understands its meaning and effect.

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XIV

DEFENDANT SATISFIED WITH COUNSEL

ROBLES has consulted with counsel and is satisfied with counsel’s
representation. This is ROBLES’s independent opinion, and ROBLES’s

counsel did not advise ROBLES about what to say in this regard.

Respectfully Submitted,

RANDY S. GROSSMAN
United States Attorney

06/16/23 Owen koth

DATED OWEN ROTH
Assistant United States Attorney

6/1/22 |
DATED ’ BENJAMIN KINGTON
Defense Counsel

IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER

PENALTY OF PERJURY THAT THE FACTS IN THE “FACTUAL BASIS” PARAGRAPH ABOVE

ARE TRUE.
OL [22 Se
DATED MANUEL ROBLES III
Defendant
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